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                     EXHIBIT 2
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 1                    UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF DELAWARE
 2

 3   IN RE:                      .       Chapter 11
                                 .       Case No. 20-10343 (LSS)
 4   BOY SCOUTS OF AMERICA AND   .
     DELAWARE BSA, LLC,          .       (Jointly Administered)
 5                               .
                                 .       Courtroom 2
 6                               .       824 Market Street
              Debtor.            .       Wilmington, Delaware 19801
 7                               .
                                 .       Monday, November 29, 2021
 8   . . . . . . . . . . . . . . .       2:03 p.m.

 9                      TRANSCRIPT OF ZOOM HEARING
              BEFORE THE HONORABLE LAURIE SELBER SILVERSTEIN
10                 CHIEF UNITED STATES BANKRUPTCY JUDGE

11   APPEARANCES:

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 1   APPEARANCES (CONTINUED):

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 3   Councils of the Boy
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 1   confusion.     Your Honor actually suggested, at least one, if

 2   not two, of the status conferences, that if there was any

 3   issue that you wanted to know of solutions.            I tried to come

 4   up with a solution, but it appears -- and most of the time is

 5   still being spent on this -- trying to make us the issue.

 6                We are not the issue.      We are not one of the three

 7   law firms.     It was not to (indiscernible) the intent of the

 8   voting ombudsperson so they would rehash all of it for now, a

 9   fourth or fifth time.     So, I changed it on the fly.

10                I had no idea that a 119-page pleading was going

11   to be filed for a status conference.         You know, someone could

12   have told me that so I could have been prepared for it, but

13   that didn't happen because it seems in this case, people

14   decide to file things last minute.         And if I had known that,

15   they said we're going to file and we're going to make you the

16   issue, then I would have said:       Enough.

17                Now, Mr. Brady said I said I would bring down the

18   temperature.     That was my goal.     I thought I'd file it by an

19   ombudsperson and people would say, yes, you're trying to fix

20   the voting issue, but instead, I got a vitriol that was

21   really unbelievable.     So, I decided I would try to drop the

22   temperature, but still do the right thing by after seeing the

23   pleading, saying, We will change it.

24                I did not know this weekend I was going to make

25   that determination.     I knew that determination after I looked
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 1   at the pleading and said, Whoa, this has gone way beyond

 2   anything that I anticipated.

 3                With respect to the voting deadline, Your Honor, I

 4   didn't think it was as big an issue, and I am just

 5   learning -- Mr. Molton even stated, I think -- it was either

 6   Mr. Molton or Ms. Lauria who stated that the voting deadline

 7   may have to be moved.     There may be a mechanism, and we will

 8   think about how to deal with that, with respect to the motion

 9   that we would file.

10                Now, Mr. Patterson -- and Mr. Patterson is

11   correct, I have known him a long time, and what I was not

12   clear is that this is not just about the letter; this is

13   about dealing with things like the eBallots and the general

14   messaging.   I actually, you know -- and this doesn't happen a

15   lot in my career, Your Honor; I have to think about the last

16   time it happened -- but I actually agree with Mr. Buchbinder.

17   We have to find a way to stop it, to just move past all of

18   this.

19                And I think the best way may be, let's get a

20   letter.   Let's deal with the eBallot.         Let's deal with stop

21   the messaging.   And let's move forward.            And that's what we

22   are trying to do.

23                And if the -- and even Mr. Molton said, Yes, the

24   letter may have started -- created some challenging

25   situations or just confounding -- he didn't use "confusion,"
